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 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   AMERICAN CIVIL LIBERTIES UNION                      Case No. 3:20-cv-09284-CRB
     FOUNDATION,
13                                                       STIPULATION AND [PROPOSED] ORDER
             Plaintiff,                                  REGARDING AUGUST RELEASE
14
        v.
15
     DEPARTMENT OF JUSTICE and FEDERAL
16   BUREAU OF INVESTIGATION,

17           Defendants.

18
19           WHEREAS, on June 18, 2021, the parties filed a Case Management Conference Statement (ECF
20 No. 25);

21           WHEREAS, in the Case Management Conference Statement, Defendant Federal Bureau of
22 Investigation (“FBI”) reported that it had “identified approximately 70 pages responsive to Item 1. The

23 FBI maintains that it is unable to provide page counts for Items 2-4 due to the sensitive investigative

24 techniques involved” (id.);

25           WHEREAS, in the June 18, 2021 Case Management Conference Statement, FBI further noted that
26 it “anticipates processing and releasing (subject to any withholdings) records responsive to Item 1 and

27 records related to the publicly acknowledged contracts in Item 3 on or before August 31, 2021. However,

28 if these record subsets involve more than 500 pages of responsive records, the FBI’s position is that it will

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 1 process 500 pages of responsive records (again, subject to any withholdings) per month until complete”

 2 (id.);

 3          WHEREAS, the Case Management Conference Statement also noted that the FBI “agreed to

 4 provide the ACLU with further information regarding the nature of all remaining responsive documents

 5 as well as its justification for its position on categorically withholding all remaining responsive records

 6 under Exemption 7(E) before the Case Management Conference before this Court on July 9, 2021 (id.);

 7          WHEREAS, the Court issued an order on June 24, 2021 “adopt[ing] the case management

 8 schedule” proposed in the parties’ June 18, 2021 Case Management Conference Statement (ECF No. 26);

 9          WHEREAS, on July 9, 2021, the FBI provided the ACLU with information described in the Case

10 Management Conference Statement;

11          WHEREAS, the FBI has been processing the records but has not yet been able to isolate records

12 related to publicly acknowledged contracts in Item 3;

13          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the parties as follows:

14          1.       The FBI will release (subject to any withholdings) the approximately 70 pages of records

15                   responsive to Item 1 by September 9, 2021; and

16          2.       The FBI will continue processing records related to publicly acknowledged contracts in

17                   Item 3, and will release those materials (subject to any withholdings) on or before

18                   September 30, 2021. However, if these record subsets involve more than 500 pages of

19                   responsive records, the FBI will process 500 pages of responsive records (subject to any

20                   withholdings) per month until complete.

21 Dated: August 31, 2021                                       STEPHANIE M. HINDS
                                                         Acting United States Attorney
22
                                                         /s/ Jevechius D. Bernardoni*
23                                                       Jevechius D. Bernardoni
                                                         Assistant United States Attorney
24

25
     Dated: August 31, 2021                              /s/ Jennifer Stisa Granick
26                                                       Jennifer Stisa Granick
                                                         American Civil Liberties Union Foundation
27                                                       39 Drumm Street
                                                         San Francisco, CA 94111
28
                                                         Telephone: 415-343-0758
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 7

 8                                                       Attorneys for Plaintiff

 9 *In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of perjury

10 that all other signatories have concurred in the filing of this document.

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 1                                         [PROPOSED] ORDER

 2         Upon consideration of the parties’ stipulation, and good cause appearing therefore, it is hereby

 3 ORDERED that the stipulation is hereby GRANTED.

 4         IT IS SO ORDERED.

 5 Dated: ________________________
           September 1, 2021
 6                                      ______________________________________

 7                                      THE HONORABLE CHARLES R. BREYER

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     STIPULATION AND [PROPOSED] ORDER REGARDING AUGUST RELEASE
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